Case 1:17-cr-20307-JEM Document 1150 Entered on FLSD Docket 03/19/2019 Page 1 of 2
                            UN ITED STA TES DISTRICT C OU RT FO R TH E
                                 SO UTH ERN D ISTRICT OF FLORID A
                      C ase N um ber:17-20307-C R-M A R TINE Z/O TA ZO -% Y ES

     UN ITED STATES O F A M ERICA ,

            Plaintiff,


     CU RTIS BRYA N T,

            Detkndant.


                      O RD ER A DO PTIN G RE PO R T AN D R EC O M M EN DA TIO N
                                              AN D
                AM ENDED AND O M NIBUS REPO RT AND RECOM M ENDATION
                                      R E :INV ESTIG A TIV E FEES

           TH IS CA U SE cam e beforethe Courtupon the Reportand Recom m endation and A m ended

    and Om nibus Reportand Recom m endation RE:lnvestigative Fees subm itted by D efendantCurtis

    Bryant's lnvestigator Fuentech lnvestigations,Inc.,pursuant to the Crim inalJustice A ctV oucher

    113C.0647036.The Reportswereissued by U nited StatesM agistrateJudgeA licia M .Otazo-Reyes

    on January 23,2019,LECF No.1009j,and onM arch 8,2019,(ECF No.l133j. M agistrateJudge
    Otazo-Reyes,recom m ends thatthis Court,approve the FinalPaym enton CJA V oucher and that

    Fuentech Investigations lnc.,be paid a totalsum of $73,338.00. The parties were afforded the

    opportunity to file objectionsto the Reportand Recommendations,howevernone were filed.
    A ccordingly,theCourthasconsidered both Reportsand R ecom m endations,thepertinentpartsofthe

    record and forthe reasonsstated in the Reportofthe M agistrate Judge,and upon independentreview

    ofthe file and being otherw ise fully advised in the prem ises,itis

           O RD ER ED A ND AD JUD G ED thatunited StatesM agistrateJudgeA liciaM .Otazo-R eyes's

    ReportandRecommendationsLECF No.1009,1133j,areherebyADOPTED and AFFIRM ED.
           DONE AND ORDERED inChambersatMiami,Florida,this 1C dayofMarch,2019.
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                                                                          j /,
                                                         JO SE     M A RTIN EZ
                                                         UN IT      STA TES D ISTRICT JU DG E
Case 1:17-cr-20307-JEM Document 1150 Entered on FLSD Docket 03/19/2019 Page 2 of 2


    Copiesprovided to:
    M agistrate Judge Otazo-lteyes
    M ichaelBand,Esq
    CJA Adm inistrator




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